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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="163ce1ea88"&gt;&lt;span data-sentence-id="94ee552815" quote="false" data-paragraph-id="163ce1ea88"&gt; The People of the State of Colorado, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="c461152851" quote="false" data-paragraph-id="163ce1ea88"&gt; &lt;br /&gt; George Patrick Brown, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5967a9e994"&gt;No. 24SC39&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="82c841ddcb"&gt;&lt;span data-sentence-id="49d8c53b4c" quote="false" data-paragraph-id="82c841ddcb"&gt; Court of Appeals Case No. 22CA238 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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